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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 SECULAR STUDENT ALLIANCE, et al.,

               Plaintiffs,

 v.
                                                       CASE NO.: 1:21-cv-00169-ABJ
 U.S. DEPARTMENT OF EDUCATION, et al.,

               Defendants.


                                  JOINT STATUS REPORT

      The Parties hereby submit the following status report in accordance with the Court’s June

29, 2022 Minute Order:

      1. The Secular Student Alliance (“SSA”) and Mr. Declan Galli filed this suit on January

          19, 2021, challenging a provision of the U.S. Department of Education’s (“ED”)

          rulemaking entitled “Direct Grant Programs, State-Administered Formula Grant

          Programs, Non Discrimination on the Basis of Sex in Education Programs or Activities

          Receiving Federal Financial Assistance, Developing Hispanic-Serving Institutions

          Program, Strengthening Institutions Program, Strengthening Historically Black

          Colleges and Universities Program, and Strengthening Historically Black Graduate

          Institutions Program” (“the Rule”), 85 Fed. Reg. 59,916 (Sept. 23, 2020). ECF No. 1.

      2. On January 20, 2021 new leadership assumed responsibility for ED.

      3. ED previously informed undersigned counsel for Defendants that it is considering

          regulatory options related to the Rule that may moot or limit the issues in this litigation.

          See ECF Nos. 21, 22.

      4. To preserve judicial resources and maximize the efficient resolution of this case, the

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   Parties jointly requested that the Court stay this case to allow Defendants time to

   consider regulatory options related to the Rule. The Court granted the Parties’ motion

   to stay on April 21, 2021.

5. On August 19, 2021, ED published a blog post entitled “Update on the Free Inquiry

   Rule.” https://blog.ed.gov/2021/08/update-on-the-free-inquiry-rule/. Therein, ED

   stated that, “[f]ollowing completion of [its] review” of the aspects of the Rule codified

   in 34 CFR parts 75 and 76, it “anticipate[s] publishing a notice of proposed rulemaking

   in the Federal Register to propose rescinding parts of the Free Inquiry Rule.” Id.

6. In light of ED’s stated intent to propose rescission of portions of the Rule, the Parties

   agreed that a further stay of this case was appropriate for an additional 60 days, and

   proposed that the Parties file a joint status report in 60 days to update the Court on ED’s

   regulatory activities related to the Rule and the Parties’ positions on whether the case

   should continue to be stayed. See ECF No. 24. That same day, the Court continued the

   stay and ordered another joint status report by October 19, 2021. See Minute Order

   (Aug. 20, 2021).

7. On October 19, the Parties filed a joint status report updating this Court on the status

   of ED’s regulatory actions. See ECF No. 26. ED stated that it intended to publish an

   entry in the Fall 2021 Unified Agenda announcing ED’s intent to publish a Notice of

   Proposed Rulemaking that will propose rescinding provisions of the Free Inquiry Rule.

   ED also stated that it was targeting a publication date of Spring 2022 for the Notice of

   Proposed Rulemaking. In light of ED’s anticipated regulatory actions, the Parties

   agreed that a further stay of this case was appropriate, and they requested that this Court

   continue the stay of these proceedings. See ECF No. 26. The Court did so and ordered



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   the Parties to submit another joint status report by February 18, 2022. See Minute Order

   (Oct. 20, 2021).

8. On February 18, 2022, the Parties filed a joint status report, updating the Court that ED

   had published an entry in the Fall 2021 Unified Agenda announcing ED’s intent to

   publish a Notice of Proposed Rulemaking that will propose rescinding provisions of

   the Free Inquiry Rule and that it continued to make progress towards publication of this

   Notice of Proposed Rulemaking. See ECF No. 27. In light of ED’s continued progress,

   the Parties asked the Court to continue the stay of proceedings, with the Parties filing

   another joint status report in 120 days. Id. The Court granted the request and ordered

   the Parties to submit a joint status report by June 28, 2022. See Minute Order (February

   22, 2022).

9. On June 28, 2022, the Parties filed a joint status report, updating the Court that ED had

   continued to work on a Notice of Proposed Rulemaking, including addressing

   comments received from the Office of Information and Regulatory Affairs (“OIRA”)

   and other agencies. The Parties also noted that ED is balancing drafting the Notice of

   Proposed Rulemaking with a number of other regulatory packages.

10. Defendants’ position on a continued stay: Since the previous stay, ED has made

   additional progress working on a Notice of Proposed Rulemaking, while continuing to

   balance a significant number of large regulatory priorities and packages tied to

   imminent regulatory deadlines. As explained in the abovementioned blog post and

   Unified Agenda entries, the government’s review has covered regulations under 34

   CFR parts 75 and 76 that place additional requirements on postsecondary institutions

   that receive Federal research or education grants as a material condition of the



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   Department’s grant. Those regulations include, but may not be limited to, the

   provisions at issue in this litigation. On February 16, 2022, ED transmitted the draft

   notice to OIRA, the part of the Office of Management and Budget responsible for

   coordinating the review of all Executive Branch regulations. OIRA coordinates an

   interagency Executive Branch review pursuant to Executive Order 12866. The OIRA

   review process is designed to promote adequate interagency review of draft proposed

   and final regulatory actions, so that such actions are coordinated with other agencies to

   avoid inconsistent, incompatible, or duplicative policies. The review process for

   regulatory packages can sometimes extend for several months before publication of a

   proposed regulatory action and ED is continuing to work through that review process

   as expeditiously as possible. In the interim, ED welcomes additional public feedback

   regarding specific concerns through the Executive Order 12866 process. In light of

   ED’s continued progress toward publishing a Notice of Proposed Rulemaking,

   Defendants propose that this Court continue the stay of proceedings in this case.

11. Plaintiffs’ position on a continued stay: Since the initial stay, Plaintiffs have given

   Defendants the benefit of the doubt and will now continue to do so in the interest of

   conserving judicial resources. But there has been little progress since the initial stay

   and none since February 2022. Additionally, Defendants have represented to Plaintiffs

   that there will be at least one or two more rounds of editing and interagency review.

   Given that the rule was issued without statutory authority—using the same false

   assertion of authority flatly rejected in NAACP v. DeVos, 485 F. Supp. 3d 136, 145

   (D.D.C. 2020)—the day is soon coming when, in the interest of justice and fundamental

   fairness, and for the sake of the students who are being harmed by the government’s



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             assertion of regulatory authority that it simply does not have, it may be necessary to

             obtain judicial relief.

          12. The Parties propose that they file a joint status report in 90 1 days to update the Court

             on ED’s regulatory activities related to the Rule and the Parties’ positions on whether

             the case should continue to be stayed.



    Dated: September 27, 2022                            Respectfully submitted,


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 Ninety days from today is Monday, December 26, 2022, which is a federal holiday. The Parties
would thus file their status report on December 27, 2022.
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